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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                      )            COURT MINUTES - CRIMINAL
                                               )              BEFORE: BECKY R. THORSON
                       Plaintiff,              )                  U.S. Magistrate Judge
                                               )
 v.                                            )      Case No:          22-cr-178 (SRN/DTS)
                                               )      Date:             August 22, 2022
Deveon Marquise Branch,                        )      Courthouse:       St. Paul
                                               )      Courtroom:         3C
                       Defendant.              )      Time Commenced:    10:20 a.m.
                                               )      Time Concluded:     10:37 a.m.
                                               )      Time in Court:     17 minutes


X DETENTION HRG ONLY



APPEARANCES:

 Plaintiff: Samantha Bates, Assistant U.S. Attorney
 Defendant: Glenn Bruder
                X CJA


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:
Defendant arraigned, see arraignment minutes and order.




                                                                                                      s/nah
                                                                           Signature of Criminal Duty Clerk
